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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 HEALTHIER CHOICES
 MANAGEMENT CORP.,

                     Plaintiff,
                                                Case No. 1:20-cv-04816-TCB
        v.

 PHILIP MORRIS USA, INC. and PHILIP
 MORRIS PRODUCTS S.A.,

                     Defendants.



     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S
      MOTION TO DEFER DEADLINE FOR FILING OBJECTIONS

      The Court should reject Plaintiff Healthier Choices Management

Corporation’s (“HCM”) attempt to delay a full and complete adjudication of this

action, and deny HCM’s motion to “defer” the deadline to object to Defendants’

evidence supporting their request for attorneys’ fees (D.I. 70, “Motion”).

      Following the Court’s dismissal of HCM’s complaint, and the Court’s denial

of HCM’s motion to amend its complaint, Philip Morris USA, Inc. and Philip Morris

Products S.A. (collectively, “Defendants”) timely filed a motion to find this case

“exceptional” and award attorneys’ fees under 35 U.S.C. § 285. D.I. 58. Shortly

thereafter, in accordance with Local Rule 54.2(A)(2), Defendants filed declarations
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and exhibits from counsel providing “detailed specification and itemization” of their

billing entries, along with additional evidence that demonstrates the reasonableness

of their requested fees. D.I. 67.

      Defendants respectfully submit that the Court should rule on that motion as

soon as practicable, so that any appeal from the Court’s ruling on fees can be

consolidated at the Federal Circuit with HCM’s already-pending appeal from the

Court’s dismissal of HCM’s complaint. That approach will provide a single and

efficient appellate case that avoids piecemeal appeals and permits the Federal Circuit

to consider the entire record of this litigation in context. See Keith Manufacturing

Co. v. Butterfield, 955 F.3d 936, 939 (Fed. Cir. 2020) (noting that Federal Rule of

Civil Procedure 54(d), governing motions for attorneys’ fees, exists “for the

prudential purposes of minimizing piecemeal appellate litigation” between “fees”

and “merits”).

      Defendants’ approach is consistent with “the weight of authority” when

evaluating motions under § 285: “the usual course is for the Court to consider

attorneys’ fees promptly after the merits decision rather than [defer].” Personal Web

Techs., LLC v. EMC Corp., 2020 WL 15574411, at *1-2 (N.D. Cal. Apr. 1, 2020);

see also Spitz Techs. Corp. v. Nobel Biocare USA LLC, 2018 WL 6016149, at *2

(C.D. Cal. Aug. 13, 2018) (denying motion to defer calculation of attorneys’ fees in

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part because “judicial economy is better served by determining attorneys’ fees

promptly” such that “the Federal Circuit has the opportunity to consider any appeal

of the calculation at the same time as the appeal on the merits”).

      HCM’s Motion, by contrast, proposes that the Court “defer” determining

whether attorneys’ fees are warranted until after HCM’s appeal, and then “defers”

again any submissions relating to the amount of attorneys’ fees. Motion at 2; D.I.

69, at 8-12. In essence, HCM proposes that:

      1) the Court ignore Defendants’ existing motion, declarations, and exhibits

         while the Federal Circuit addresses only HCM’s appeal of the Court’s

         dismissal;

      2) following the Federal Circuit’s ruling, this Court consider and rule on

         whether attorneys’ fees are warranted;

      3) following that ruling, HCM belatedly object to Defendants’ declarations

         and exhibits, and the Court consider and rule on the amount of attorneys’

         fees due; and

      4) following that ruling, this Court’s fees ruling be appealed back to the

         Federal Circuit.

Motion at 2; D.I. 69, at 8-12. HCM’s proposal is the very definition of “piecemeal”

litigation and appeals. Keith Manufacturing Co., 955 F.3d at 939.

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        HCM’s argument that splitting this already-completed litigation into four

stages and multiple appeals spanning years will “conserv[e] the parties’ and the

Court’s limited resources,” Motion at 2, is flawed. The Federal Circuit has expressly

rejected HCM’s suggested approach. In Orenshteyn v. Citrix Systems, Inc., an

appeal stemming from within the Eleventh Circuit, the Federal Circuit stated that:

        The prudential way to avoid “piecemeal appeals” is for the district court
        to “promptly” hear and decide claims for attorney's fees; “such
        practice normally will permit appeals from fee awards to be
        considered together with any appeal from a final judgment on the
        merits.”

691 F.3d 1356, 1363 (Fed. Cir. 2012)1 (quoting White v. New Hampshire. Dep’t of

Emp’t Sec., 455 U.S. 445, 454 (1982)). The Advisory Committee Notes to Federal

Rule 54 confirm the appellate Court’s holding:

        In many nonjury cases the court will want to consider attorneys' fee
        issues immediately after rendering its judgment on the merits of the
        case. … Prompt filing affords an opportunity for the court to resolve
        fee disputes shortly after trial, while the services performed are freshly
        in mind. It also enables the court in appropriate circumstances to make
        its ruling on a fee request in time for any appellate review of a dispute
        over fees to proceed at the same time as review on the merits of the
        case.

1993 Advisory Committee Notes to FED. R. CIV. P. 54. HCM’s proposed “deferral”



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    All emphases added unless otherwise noted.

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is the opposite of “prudential,” and runs afoul of the Supreme Court’s caution that

“piecemeal appeals of merits and fee questions generally are undesirable.” White,

455 U.S. at 452 n.14.

      HCM goes on to argue that deferring its deadline to object to Defendants’

declarations and exhibits is warranted because courts “routinely … bifurcate[]”

liability for attorneys’ fees from the quantification of a fee award. Motion at 2. The

Federal Circuit disagrees and has cautioned otherwise. “[B]ecause the grounds for

determining that a case is exceptional and for fixing an amount of the attorney fees

are related, it is efficient to review them together.” Special Devices, Inc. v. OEA,

Inc., 269 F.3d 1340, 1344 (Fed. Cir. 2001).

      Even HCM’s own cited case law demonstrates that courts just as often, if not

more often, adjudicate entitlement to and quantification of attorneys’ fees together.

For example, HCM cites Pergo (Europe) A.B. v. Stanley Black & Decker, Inc. as

allegedly supporting bifurcation because “Plaintiff must object with reasonable

precision to each of Defendants’ myriad time entries that are deficient.” Mot. at 2,

4. It is hard to credit that argument because the court in Pergo (i) found that the case

was exceptional, and (ii) determined the amount of attorneys’ fees to award, at the

same time, without bifurcation—the opposite of what HCM asks this Court to do.

2018 WL 3949746, at *4, 12 (N.D. Ga. May 7, 2018) (finding case exceptional and

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awarding $376,915.50 in fees).

      Pergo is no outlier. Numerous cases in this district demonstrate that the Court

should evaluate both (i) liability for, and (ii) quantification of attorneys’ fees

together, without “defer[ring].” See, e.g., Lamb v. Clayton County School District,

2021 WL 5765912, at *2 (N.D. Ga. Nov. 9, 2021) (resolving entitlement to, and

quantification of, attorneys’ fees in the same order, and rejecting request to defer

“time to respond to any subsequent affidavits.”); Gallo v. Colvin, 2016 WL 5899313,

at *2-3 (N.D. Ga. Oct. 11, 2016) (resolving entitlement to, and quantification of,

attorneys’ fees in the same order); Eason v. Bridgewater & Associates, Inc., 108

F.Supp.3d 1358, 1365-66 (N.D. Ga. June 9, 2015) (same); Jaraysi v. City of

Marietta, Georgia, 2014 WL 12799081, at *5 (N.D. Ga. Oct. 2, 2014) (same);

Wetherington v. Ameripath, Inc., 2013 WL 1207825, at *8, 13 (N.D. Ga. Mar. 27,

2013) (same).

      Consistent with the above-cited law, the Court should deny HCM’s motion to

“defer” any deadlines related to Defendants’ motion for attorneys’ fees. HCM

should promptly submit any objections it may have to Defendants’ evidence, so that

the Court may rule on Defendants’ motion and avoid piecemeal litigation by

allowing HCM’s appeal of the Court’s dismissal ruling to be heard by the Federal

Circuit in context with the Court’s attorneys' fees decision.

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Dated: January 24, 2022           Respectfully submitted,


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                           7.1(D) CERTIFICATION

      Counsel for the Defendant Philip Morris USA, Inc. hereby certifies that this

document has been prepared with one of the font and point selections approved by

the Court in Local Rule 5.1(C).

                                     /s/ Henry D. Fellows, Jr.
                                     Henry D. Fellows, Jr.
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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 24, 2022, a copy of the foregoing was filed

with the Clerk of Court using CM/ECF which will send electronic notification of

such filing to all counsel of record.



                                        /s/ Henry D. Fellows, Jr.
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